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 4                                         IN THE UNITED STATES DISTRICT COURT FOR THE

 5                                               EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                                )
                                                              )
 8                                   Plaintiff,               )       No. 1:08-CR-00224 OWW
                                                              )
 9                   vs.                                      )       ORDER TO HOLD RELEASE ORDER
                                                              )       IN ABEYANCE PENDING RECEIPT
10   ROBERT C. HOLLOWAY,                                      )       OF BOND
                                                              )
11                                             Defendant.     )
                                                              )
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                     IT IS HEREBY ORDERED that the order of release as to
14
     defendant ROBERT C. HOLLOWAY shall be held in abeyance pending
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     receipt and approval of the $500,000 bond required per Court
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     order.
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     DATED: May 27, 2009
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19                                                            /s/ OLIVER W. WANGER
                                                              HONORABLE OLIVER W. WANGER
20                                                            U.S. DISTRICT JUDGE

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